        Case: 3:20-cv-00970-wmc Document #: 3 Filed: 10/21/20 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

 JULIUS GOODWIN III,

        Plaintiff,                                                      ORDER
 v.
                                                               Case No. 20-cv-970-wmc
 DANE COUNTY JAIL, et al

        Defendants.


       Plaintiff Julius Goodwin III has filed a proposed civil complaint and requested leave to

proceed without prepaying the filing fee. To evaluate plaintiff’s request to proceed without

prepayment of the filing fee, I must review a certified copy of plaintiff’s inmate trust fund

account statement (or institutional equivalent) for the six-month period immediately preceding

the filing of the complaint. 28 U.S.C. § 1915(a)(2).

       For this case to proceed, plaintiff must submit the certified trust fund account statement

no later than November 12, 2020. If I find that plaintiff is indigent, I will calculate an initial

partial payment amount that must be paid before the court can screen the merits of the

complaint under 28 U.S.C. § 1915(e)(2). Thereafter, plaintiff will be required to pay the

balance of the filing fee in installments.




                                             ORDER

       IT IS ORDERED that plaintiff Julius Goodwin III may have until November 12, 2020

to submit a trust fund account statement for the period beginning approximately April 21,

2020 and ending approximately October 21, 2020. If, by November 12, 2020, plaintiff fails
        Case: 3:20-cv-00970-wmc Document #: 3 Filed: 10/21/20 Page 2 of 2




to respond to this order, I will assume that plaintiff wishes to withdraw this action voluntarily.

In that event, the case will be closed without prejudice to plaintiff filing the case at a later date.




               Entered this 21st day of October, 2020.

                                       BY THE COURT:


                                       /s/
                                       PETER OPPENEER
                                       Magistrate Judge
